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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                        MONROE DIVISION

 UNITED STATES OF AMERICA                               CR. A. NO. 02-30043-07

 VERSUS                                                 JUDGE ROBERT G. JAMES

 MARY L. NATION                                         MAG. JUDGE KAREN L. HAYES


                                                ORDER

        Because of the recent revision to the base offense levels for crack cocaine, Section 2D1.1 of

 the United States Sentencing Guidelines, this matter will be considered for re-calculation of sentence

 pursuant to 18 U.S.C. § 3582(c)(2). All cases falling under 18 U.S.C. § 3582(c)(2) will be

 considered in order of the current release date of each defendant, with the cases of those defendants

 who are closest to their release dates considered first.

        IT IS ORDERED that the Office of the Public Defender is appointed to represent all

 defendants who are potentially affected by the revisions to the Sentencing Guidelines on crack

 cocaine. If a defendant retains private counsel, that counsel should enroll immediately and will be

 subject to the provisions of this Order.

        Having reviewed the Probation Office’s re-calculation of the applicable Guideline range of

 imprisonment and the record in this matter, including the Pre-Sentence Report, the Court intends to

 issue an amended judgment reducing Defendant Mary Nation’s term of imprisonment from 188

 months to 151 months. Therefore,

        IT IS FURTHER ORDERED that the United States Attorney’s Office and the attorney

 representing the defendant shall file within 60 days of their receipt of this Order a notice stating (1)

 whether a hearing is requested or waived and (2) whether there are any objections to the re-
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 calculation and/or to the Court’s proposed term of imprisonment.

        It is the intent of the Court to address every defendant potentially affected by these Guideline

 revisions and to do so in as prompt a manner as possible.

        MONROE, LOUISIANA, this 4th day of April, 2008.




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